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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-02818-RMR-KLM

   CAROL NICHOLS, on behalf of herself and similarly situated employees,

         Plaintiff,

   v.

   DENVER HEALTH AND HOSPITAL AUTHORITY,

        Defendant.
   _____________________________________________________________________

                               MINUTE ORDER
   _____________________________________________________________________
   ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

          This matter is before the Court on Plaintiff’s Motion for Leave to Reply to
   Defendant’s Response [ECF 212] to Plaintiff FRCP 53(f) Appeal of the Special
   Master’s Ruling [ECF 205] Imposing Sanctions, Fees, and a Contempt Citation for an
   Alleged “Benign” Violation of the Protective Order [#213] (“Plaintiff’s Motion”) and on
   Defendant’s Motion for Leave to Respond to Plaintiff’s FRCP 53(f)(3) Appeal of the
   Special Master’s Clearly Erroneous Order [ECF 209] Re Plaintiff’s Motion Under the
   Parties’ Protective Order to De-designate the Diversity, Equity, and Inclusion (DEI)
   Report of Nita Mosby Tyler, Ph.D. [ECF 192] [#216] (‘Defendant’s Motion”). Plaintiff’s
   Motion [#213] seeking leave to file a Reply in support of her Objections [#207] to the
   Special Master’s Order [#205] not only seeks leave to reply but also appears to contain the
   entirety of Plaintiff’s Reply itself. Accordingly,

          IT IS HEREBY ORDERED that Plaintiff’s Motion [#213] is GRANTED. Plaintiff’s
   Reply in support of her Objections [#207] to the Special Master’s Order [#205] is accepted,
   as contained in Plaintiff’s Motion [#213].

          IT IS FURTHER ORDERED that Defendant’s Motion [#216] is GRANTED. No later
   than October 7, 2021, Defendant may file a 5-page Response to Plaintiff’s Objections
   [#215] to the Special Master’s Order [#209].

         Dated: September 30, 2021
